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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA                     §
                                             §
                                             §       CRIMINAL ACTION NO. 6:07cr82
v.                                           §
                                             §
JAMIE BRELIN VICK (14)                       §

                                            ORDER

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge which

contains his proposed findings of fact and recommendations for the disposition of such action, has

been presented for consideration. The parties have made no objections to the Report and

Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

findings and conclusions of this Court conditional upon a review of the presentence report.

      So ORDERED and SIGNED this 30th day of July, 2008.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE
